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                                                                                                    FILED
                                                                                                    JUN 11 2015
                IN THE CIRCUIT COURT OF MISSISSIPPI COUNTY, ARKANSAS
                   FOR THE SECOND JUDICIAL DISTRICT AT BLYTHEVILLE                               LESLIE MASON
                                                                                                 CIRCUIT CLERK

     ANTONIO PATTERSON.

             Plaimiff,

     vs.

     JOHN H. STEIN JR, LARRY W.
     WINKLER and SMITH                              Cause No:C.V-JOIS-'     lJl   Cf:>~
     TRANSPORTATION. INC.,                          Jury Demanded

             Defendants.



                                               COMPLAINT


            Comes now the Plaintiff. Antonio Patterson, and would show unto the Court as follows:

                                                      I.

            That your Plaintiff is a resident citizen of l\1emphis. Shelby County, Tennessee; that your

     Defendant John H. Stein. Jr.. is assumed to be a citizen and resident of Rosendale. Andrew

     County, Missouri; that your Defendant. Larry W. Winkler. is assumed to be a citizen and resident

     of Platte City, Platte County. Missouri; and that your Defendant. Smith Transportation, [nc .. is a

     domestic corporation license and authorized to conduct business in the State of Arkansas.

                                                     IL

            That on or about December 6. 2013. Plaintiff. Antonio Patterson. was a passenger in a l 991

     Chevrolet Camara travelling northbound on Interstate 55 near State Highway 148 when the vehicle

     came to a rest due to ice in and on the roadway. That Defendant. John H. Stein. Jr,. while

     operating a 2009 Freightliner Cascadia bearing Kansas license 135184. assumed to be O\\Tied by

     and registered in the name of Larry W. Winkler. in the course and scope of employment by Smith
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 Transponation. Inc .. was travelling northbound on Interstate 55. when without warning. Defendant

 did negligently and carelessly struck the rear of the 199 I Che\Tolet Camaro. That the Plaintiff

 Antonio Patterson. having exited lhe vehicle in an attempt to move it trom the roadway. became

 aware of an impending collision of the 1991 Chevrolet Camara and 2009 Freightliner Cascadia and

 threw himself out of the v.•ay in order lo avoid being struck. injuring himself in the process.

                                                       Ill.

        Plaintiff charges and alleges that the Defendant. John H. Stein. Jr.• was guilty of the

 following acts of common law negligence. each and every one of which was a direct and proximate

cause of the Plaintiff's. resulting damages. to wit:

        a. In failing to devote full time and attemion to the operation of his vehicle;

        b. In failing to maintain a proper outlook:

        c. In driving his vehicle too fast under the conditions prevailing:

        d. In failing to use that degree of care and caution as was required under the existing

             circumstances and conditions for the safety of themselves and others properly upon

             the aforementioned street;

        e.   In foiling to control the movement, momentum t()r direction of travel of his vehicle.

             or to tum or guide the same, as it was his duty to do so. as to avoid causing a collision

             to   occur~   then and thereby injuring Plaintiff.

                                                      IV.

       As a direct and proximate result of the negligence of the Defendants. and resulting collision.

the Plaintitl Antonio Patterson, suffered serious. painful and pennanent injuries, including but not

iimitecl to his shoulder. left side. and knees, and mental anguish; Plaintiff incurred doctor. medical.
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 hospital and other bills in an effort to cure said injuries and will in the future incur such expenses:

Plaintiff's capacity for pleasure, business, work and the enjoyment oflife have been impain:J.

        \VHEREFORE, PREMISES CONSIDERED, PLAINTIFFS RESPECTFULL \
PRAY:

        I. That proper process issue against the Defendants requiring them to plead and ans\vcr.

        ,   That Plaintiff, Antonio Patterson, be awarded compensatory damages in the amount of

            ONE HUNDRED THIRTY THOUSAND and 00/100 {$130.000.00) DOLLARS.

        3. That the Plaintiff be granted whatever other relief, general or specific. this Court deems

            equitable and just.

        4. Plaintiff demands a Jury to try these issues when joined.

Respectfully submitted this_ day of June. 2015.



                                               By:. _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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SCH WED. ADAMS, SOBEL & MCGINLEY, P.A. is surety for the court costs of this cause.



SCHWED. ADAMS, SOBEL & MCGINLEY. P.A.




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